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                IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         NORTHERN DIVISION


UNITED STATES                                                       PLAINTIFF


VS.                            CRIMINAL ACTION NO: 3:12-cr-88-DCB-FKB
                                     CIVIL ACTION NO: 3:14-cv-355-DCB
KEITH DEWAYNE TAYLOR                                                DEFENDANT

          ORDER GRANTING MOTION TO WITHDRAW PRIOR MOTION

      This matter is before the Court on Defendant’s, Keith Dewayne

Taylor, Motion to Vacate, Set Aside, or Amend Sentence by a Person

in Federal Custody pursuant to 28 U.S.C. § 2255 [docket entry no.

318] and Motion to Withdraw the above motion [docket entry no.

355]. Having considered the motions, applicable statutory and case

law, and being otherwise fully informed in the premises, the Court

finds and orders as follows:

      Defendant   Keith   Dewayne   Taylor     has   moved   this    Court     to

withdraw his previously filed motion to vacate. The Government has

not responded to Taylor’s motion to withdraw. Taylor has offered no

explanation for his most recent motion, but none is required of

him. Therefore, the Court will grant Taylor’s motion to withdraw

his prior motion to vacate his sentence. This will not operate as

a judgment on the merits of his Section 2255 petition, and the

dismissal of his petition is without prejudice. Taylor may refile

if he so wishes. But the Court can find no authority to suggest


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that the filing and withdrawing of a Section 2255 petition would

toll the statute of limitations on making such a motion under these

circumstances.1 Motions under Section 2255 must be filed within one

year of “the date on which the judgment of conviction becomes

final.” 28 U.S.C. § 2255(f)(1) (2008). Further, the Fifth Circuit

has already   foreclosed   the   argument     “that   the   refiling    of a

petition previously dismissed without prejudice constitutes the

same habeas proceeding.” United States v. Patterson, 211 F.3d 927,

932 n.9 (5th Cir. 2000) (holding that the petitioner had shown

extraordinary circumstance after a dismissal without prejudice of

a prior 2255 filing because the district court lacked guidance

related to recently enacted Antiterrorism and Effective Death

Penalty Act). Accordingly,

     IT IS HEREBY ORDERED that the Defendant’s Motion to Withdraw

Motion to Vacate under 28 U.S.C. 2255 is GRANTED.

     FURTHER ORDERED that the Defendant’s Motion to Vacate, Set

Aside, or Amend Sentence by a Person in Federal Custody pursuant to

28 U.S.C. § 2255 is DENIED as MOOT.

     SO ORDERED this the 9th day of March 2015.


                                        /s/ David Bramlette
                                       UNITED STATES DISTRICT JUDGE


     1
       A Section 2255 claim may be equitably tolled when a
petitioner can “sho[w] (1) that he has been pursuing his rights
diligently, and (2) that some extraordinary circumstances stood
in his way and prevented timely filing.” Holland v. Florida, 560
U.S. 631, 649 (2010) (internal quotation marks omitted).

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